Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 1 of 13 PageID #: 1353




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   NELSON WILLIS,                                   §
                                                    §
         Plaintiffs,                                §
                                                    §
   v.                                               §    Civil Action No. 4:23-cv-732-ALM-KPJ
                                                    §
   ADAM M. ARON,                                    §
                                                    §
         Defendant.                                 §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is Defendant Adam M. Aron’s (“Defendant”) Motion to Dismiss

  Pursuant to Rule 12(b)(6) and Brief in Support (the “Motion to Dismiss”) (Dkt. 10), to which

  Plaintiff Nelson Willis (“Plaintiff”) filed a response (Dkt. 32) and Defendant filed a reply

  (Dkt. 33). For the reasons that follow, the Court recommends the Motion to Dismiss (Dkt. 10) be

  GRANTED.

                                       I.     BACKGROUND

  A.     Procedural History

         On August 14, 2023, Plaintiff, proceeding pro se, filed a complaint (the “Complaint”)

  (Dkt. 1) against Defendant. Dkt. 1 at 1. In the Complaint (Dkt. 1), Plaintiff asserts causes of action

  for malicious prosecution, abuse of process, and intentional infliction of emotional distress against

  Defendant, the Chief Executive Officer (“CEO”) of AMC Entertainment Holdings, Inc. (“AMC”),

  regarding a suit for protective order filed by Defendant in the 235th Judicial District Court of

  Cooke County. See Dkt. 1 at 3–4, 26–28.

         On November 30, 2023, Defendant filed the Motion to Dismiss (Dkt. 10), requesting that

  “the Court dismiss this case because the Plaintiff’s Complaint fails to state a claim upon which

                                                    1
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 2 of 13 PageID #: 1354




  relief can be granted.” Dkt. 10 at 1. On December 8, 2023, Defendant filed a Motion for Protective

  Order Against Plaintiff Nelson Willis (the “Motion for Protective Order”) (Dkt. 12), wherein

  Defendant seeks “a Protective Order pursuant to Art. 7B.003 of the Texas Code of Criminal

  Procedure to prohibit [Plaintiff] from engaging in conduct that constitutes criminal stalking for the

  duration of [Plaintiff’s] life.” Dkt. 12 at 1. After four extensions of time granted by the Court,

  Plaintiff filed his response to the Motion to Dismiss (Dkt. 10) and Motion for Protective Order

  (Dkt. 12) on April 15, 2024. See Dkts. 16; 20; 25; 30; 32.

  B.      The Complaint

          Plaintiff alleges that he became a shareholder of AMC in 2021 through the purchase of

  common shares in AMC. Dkt. 1 at 5. Plaintiff alleges that he was hospitalized in March 2023 at

  the time of an AMC shareholder meeting and, thus, attempted to vote by proxy against a proposal

  for a reverse stock split and merger. Id. at 16–17. Plaintiff alleges that he did not receive a proxy

  voting statement and that his vote was “incomplete.” Id. at 17. Plaintiff alleges that he was

  frustrated when he learned that the proposal was approved. Id. Plaintiff alleges that he expressed

  this frustration by sending emails to the AMC investor relations email. Id. Plaintiff alleges that

  when he did not receive a response to those emails, his “patience ran thin” and he “sent an angry

  email to Defendant.” Id. at 17–18. Plaintiff alleges that Defendant did not respond to that email so

  he “sent some angrier emails and then finally . . . Defendant . . . replied.” Id. at 18. Plaintiff alleges

  that in the reply, Defendant did not respond to his concerns regarding the failure to count his proxy

  vote and instead said, “I hope your parents are alive to see your hateful emails.” Id. Plaintiff alleges

  that he “was not happy about that” and “responded angrily.” Id.

          Plaintiff alleges that on May 19, 2023, Defendant filed a petition for a protective order in

  the 235th Judicial District Court of Cooke County. Id. at 19. Plaintiff alleges that Defendant’s state


                                                      2
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 3 of 13 PageID #: 1355




  court petition included allegations that Plaintiff “repeatedly [sent] harassing, threatening, and

  offensive emails to Defendant” and that “[m]any of the emails contain hateful speech qualifying

  as ethnic slurs to and about Defendant.” Id. at 20. Plaintiff alleges that Defendant “abused the

  judicial process when he filed a baseless petition for a protective order against Plaintiff” because

  the action was initiated “in order to silence Plaintiff . . . from reporting fraud, disseminating and

  exposing Defendant[’s] . . . role in the pernicious financial engineering scheme that was

  perpetrated against AMC . . . shareholders and Defendant[’s] . . . abject failure to rectify the AMC

  proxy voting issues to the U.S. Securities and Exchange Commission (“SEC”).” Id. at 4.

          Plaintiff alleges that the state court held a protective order hearing on July 21, 2023, at

  which Defendant did not appear. Id. at 20–21. Plaintiff alleges that the hearing was rescheduled

  due to Defendant’s failure to appear. Id. at 21. Plaintiff alleges that on July 28, 2023, he filed an

  application for subpoena ordering John Merriwether (“Mr. Merriwether”) to appear and testify at

  the rescheduled hearing. Id. Plaintiff alleges that the subpoena was served on Mr. Merriwether on

  July 31, 2023, between 8:30 am and 9:30 am. Id. Plaintiff alleges that Defendant’s “culpable state

  of mind” was exposed when Defendant filed a motion to nonsuit the request for a protective order

  after Plaintiff served the subpoena on Mr. Merriwether. Id. at 4. Plaintiff alleges the notice of

  nonsuit without prejudice was filed on July 31, 2023, at approximately 5:58 pm. Id. at 22.

                                     II.      LEGAL STANDARD

          Federal Rule of Civil Procedure 12(b)(6) allows a defendant to move for dismissal of an

  action if the plaintiff fails to state a claim upon which relief can be granted. FED. R. CIV. P. 12(b)(6).

  Because dismissals under Rule 12(b)(6) are disfavored, the Court must accept all well-pleaded

  facts in the plaintiff’s complaint as true, “even if doubtful or suspect,” and view them in the light

  most favorable to the plaintiff. Peña Arita v. United States, 470 F. Supp. 3d 663, 680 (S.D. Tex.


                                                      3
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 4 of 13 PageID #: 1356




  2020). However, the Court does not accept as true “conclusory allegations, unwarranted factual

  inferences, or legal conclusions.” Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007)

  (quoting Plotkin v. IP Axess Inc., 407 F.3d 690, 696 (5th Cir. 2005)).

         A claim will survive an attack under Rule 12(b)(6) if, considering all well-pleaded facts,

  the complaint states a plausible claim for relief, rather than “the mere possibility of misconduct.”

  Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). The well-pleaded facts must allow the Court to “draw

  the reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678.

  “Determining whether a complaint states a plausible claim for relief will . . . be a context-specific

  task that requires the reviewing court to draw on its judicial experience and common sense.” Id.

  When considering a motion to dismiss for failure to state a claim, the Court’s review is limited to

  the complaint, any document attached to the complaint, and any document attached to the motion

  to dismiss that is central to the claim and referenced by the complaint. See Lone Star Fund V (U.S.),

  L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010) (citing Collins v. Morgan Stanley

  Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000)).

                                          III.    ANALYSIS

  A.     The Motion to Dismiss (Dkt. 10)

         1.      Malicious Prosecution

         Plaintiff fails to state a claim for malicious prosecution under Texas state law. “To prevail

  in a suit alleging malicious prosecution of a civil claim, the plaintiff must establish: (1) the

  institution or continuation of civil proceedings against the plaintiff; (2) by or at the insistence of

  the defendant; (3) malice in the commencement of the proceeding; (4) lack of probable cause for

  the proceeding; (5) termination of the proceeding in plaintiff’s favor; and (6) special damages.”




                                                    4
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 5 of 13 PageID #: 1357




  Tex. Beef Cattle Co. v. Green, 921 S.W.2d 203, 207 (Tex. 1996) (citing James v. Brown,

  637 S.W.2d 914, 918 (Tex. 1982)).

         Here, Plaintiff alleges that Defendant “initiated, continued, and caused the initiation and

  continuation of an application for a baseless protective order against [him], pursuant to Article 7B

  of the Texas Code of Criminal Procedures.” Dkt. 1 at 26. Plaintiff further contends that the nonsuit

  of the proceedings by Defendant was a termination in Plaintiff’s favor. Id. at 22, 26. Defendant

  argues that a nonsuit without prejudice does not constitute a termination in Plaintiff’s favor, and

  thus, Plaintiff cannot meet the fifth element required for his malicious prosecution claim. Dkt. 10

  at 4. The Court agrees with Defendant.

         “To satisfy the termination element, the plaintiff must show the initial civil proceeding

  resulted in a final judgment and that all appeals were exhausted.” Republic Techs. (NA), LLC v.

  Gross, No. 20-cv-390, 2022 WL 18232137, at *11 (E.D. Tex. Dec. 8, 2022) (citing Tex. Beef,

  921 S.W.2d at 208), R. & R. adopted, 2023 WL 160221 (E.D. Tex. Jan. 11, 2023). Here, Defendant

  filed a notice of nonsuit, which is allowed pursuant to Texas Rule of Civil Procedure 162 “at any

  time before introducing all of [his] evidence other than rebuttal evidence.” Epps v. Fowler,

  351 S.W.3d 862, 868 (Tex. 2011). “Moreover, a plaintiff’s right to take a non-suit is unqualified

  and absolute so long as a defendant has not made a claim for affirmative relief.” KT Bolt Mfg. Co.

  v. Tex. Elec. Coops., Inc., 837 S.W.2d 273, 275 (Tex. App.—Beaumont 1992, writ denied) (citing

  BHP Petroleum Co. v. Millard, 800 S.W.2d 838 (Tex. 1990)). “A dismissal is in no way an

  adjudication of the rights of the parties; it merely places them in the position that they were in

  before the court’s jurisdiction was invoked just as if the suit had never been brought.” Id. (first

  citing Crofts v. Ct. of Civ. Appeals, 362 S.W.2d 101, 104 (Tex. 1962); and then citing In re S.B.C.,

  805 S.W.2d 1 (Tex. App.—Tyler 1991, writ denied)). “The taking of a voluntary non-suit does not


                                                   5
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 6 of 13 PageID #: 1358




  constitute a litigation of the issues in a case, and does not prejudice the parties against seeking the

  same relief in a subsequent suit.” Id. (citing Ashpole v. Millard, 778 S.W.2d 169, 171 (Tex. App.—

  Houston [1st Dist.] 1989, no writ.)). Thus, the voluntary nonsuit by Defendant was not a

  termination in favor of Plaintiff.

         Plaintiff argues that the petition for a protective order was initiated pursuant to Texas Code

  of Criminal Procedure article 7B and thus, the voluntary dismissal of the case should be treated as

  it would be in a criminal case—“a de facto admission . . . that the accused person is not guilty.”

  Dkt. 32 at 9. However, even though the protective order was sought pursuant to the Texas Code

  of Criminal Procedure, “protective-order proceedings are civil proceedings; they are not criminal

  or quasi-criminal proceedings.” Bevers v. Mabry, No. 05-22-713-cv, 2024 WL 469550, at *6 (Tex.

  App.—Dallas Feb. 7, 2024, pet. filed) (mem op.) (first citing Mahmoud v. Jackson, No. 05-21-

  302-cv, 2022 WL 2167683, at *4 (Tex. App.—Dallas June 16, 2022, no pet.) (mem. op.); and then

  citing Thoutam v. Paramkusam, No. 05-22-161-cv, 2023 WL 4758462, at *5 (Tex. App.—Dallas

  July 26, 2023, no pet.)). Consequently, Plaintiff’s contention is incorrect, and Defendant’s

  voluntary dismissal of the protective order should be treated as it would in any other civil case—

  as a neutral termination of the case.

         Plaintiff also cites Epps, 351 S.W.3d 862, cited above, in support of his contention that the

  nonsuit was “dishonest” and thus, should be construed as a termination in favor of Plaintiff. Dkt. 32

  at 10–11. In Epps, the Texas Supreme Court was faced with the question of whether a defendant

  is a prevailing party with respect to contractual language entitling a prevailing party to attorney

  fees when the plaintiff voluntarily nonsuits without prejudice. Epps, 351 S.W.3d at 868–71. The

  Epps Court held that “a defendant may be a prevailing party when a plaintiff nonsuits without

  prejudice if the trial court determines, on the defendant’s motion, that the nonsuit was taken to


                                                    6
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 7 of 13 PageID #: 1359




  avoid an unfavorable ruling on the merits.” Id. at 870. Here, Plaintiff has not identified that there

  was such a motion and ruling in the Texas state trial court. See Dkts. 1; 32. Indeed, the Court takes

  judicial notice of the proceedings in the 235th Judicial District Court for Cooke County and finds

  that Plaintiff did not file such a motion and thus, the Cooke County court never made a ruling on

  this issue. 1 See Dkt. 10-1 at 1–2. Because there was no determination by the Texas court regarding

  Defendant’s motive in dismissing the case, the Court will not construe the nonsuit as a termination

  in favor of Plaintiff.

           Because the underlying case ended in a nonsuit, Plaintiff cannot plausibly satisfy the fifth

  required element of his malicious prosecution claim. Accordingly, the Court recommends

  Plaintiff’s malicious prosecution claim be dismissed for failure to state a claim.

           2.       Abuse of Process

           Plaintiff fails to state a claim for abuse of process under Texas state law. “To establish a

  claim for abuse of process under Texas state law, the plaintiff must show ‘(1) the defendant made

  an illegal, improper or perverted use of the process, a use neither warranted nor authorized by the

  process; (2) the defendant had an ulterior motive or purpose in exercising such illegal, perverted

  or improper use of the process; and (3) damage to the plaintiff as a result of such illegal act.’”

  Shaikh v. Allen City Council, No. 21-cv-953, 2023 WL 2518908, at *17 (E.D. Tex. Feb. 8, 2023)

  (quoting Hammervold v. Blank, 3 F.4th 803, 812 (5th Cir. 2021)), R. & R. adopted, 2023 WL

  2503542 (E.D. Tex. Mar. 13, 2023).




  1 “The Fifth Circuit has also held that courts are permitted to refer to matters of public record when deciding a motion

  to dismiss under Rule 12(b)(6).” Tech Pharmacy Servs., LLC v. Alixa Rx LLC, No. 15-cv-766, 2016 WL 4272412, at
  *2 (E.D. Tex. Aug. 15, 2016) (citing Cinel v. Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1996)). “[T]aking judicial
  notice of public records directly relevant to the issue in dispute is proper on a Rule 12(b)(6) review and does not
  transform the motion into one for summary judgment.” Id. (quoting Motten v. Chase Home Fin., 831 F. Supp. 2d 988,
  993 (S.D. Tex. 2011)).

                                                             7
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 8 of 13 PageID #: 1360




         Plaintiff alleges that Defendant “abused the judicial process when he filed a baseless

  petition for a protective order.” Dkt. 1 at 27. Plaintiff further contends that Defendant “procure[d]

  a temporary ex parte protective order against [him] that lasted for 46 days.” Id. Defendant argues

  that (1) the temporary protective order was never entered in the state court proceedings and

  (2) Plaintiff cannot maintain his abuse of process claim because his allegations relate to the

  procurement of process rather than the post-issuance abuse of process. Dkt. 10 at 6–7. The Court

  agrees with Defendant.

         First, Plaintiff alleges in the Complaint (Dkt. 1) that a temporary restraining order was

  entered against him and persisted for forty-six days. Dkt. 1 at 27. Defendant asserts that this is

  incorrect, and the temporary protective order was never entered by the Texas state trial court, as

  shown by the state court docket. Dkt. 10 at 7. The Court has taken judicial notice of the underlying

  proceedings and finds that a temporary protective order was never entered. See supra

  Section III.A.1; Dkt. 10-1 at 1–2. Thus, no protective order was entered against Plaintiff.

         Second, because there was no protective order entered, Plaintiff’s abuse of process claim

  is based solely on the filing of the suit. “[M]erely filing suit is not sufficient to maintain an abuse

  of process claim” because “[a] claim for abuse of process requires a perversion of the process”

  after it is issued. RRR Farms, Ltd. v. Am. Horse Prot. Ass’n, Inc., 957 S.W.2d 121, 134 (Tex.

  App.—Houston [14th Dist.] 1997, no writ) (citing Blackstock v. Tatum, 396 S.W.2d 463, 467 (Tex.

  App.—Houston 1965, no writ)). “Where the only process issued is a citation, and no allegations

  are made that there was any abuse in the execution or service of this process, no cause of action

  for abuse of process is stated.” Detenbeck v. Koester, 886 S.W.2d 477, 481 (Tex. App.—Houston

  [1st Dist.] 1994, writ dismissed) (citing Morris v. Blangger, 423 S.W.2d 133, 134 (Tex. App.—

  Austin 1968, writ ref’d n.r.e.)). Here, Plaintiff merely alleges that Defendant abused process by


                                                    8
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 9 of 13 PageID #: 1361




  filing the petition for a protective order. Dkt. 1 at 26–28. The only process used in this case was

  the citation, and Plaintiff has made no allegations that the citation was not used for its intended

  purpose—to compel him to answer the lawsuit. Plaintiff’s allegations of abuse concern the

  protective order, which was never issued. See id. Accordingly, Plaintiff’s allegations amount to no

  more than Defendant had malicious intent in commencing the suit for a protective order, which is

  insufficient to maintain an abuse of process cause of action. See Cantu v. Guerra, No. 20-cv-746,

  2021 WL 2652933, at *19 (W.D. Tex. June 28, 2021) (dismissing the abuse of process claim

  because the plaintiff “merely allege[d] that the [defendants] abused process by commencing this

  case against her”).

          Because the protective order was never issued, Defendant could not have abused this

  process post-issuance, which is the first essential element of an abuse of process claim. Thus,

  Plaintiff cannot plausibly state a claim for abuse of process and this claim should be dismissed for

  failure to state a claim.

          3.      Intentional Infliction of Emotional Distress

          Plaintiff fails to state a claim for intentional infliction of emotional distress. “The elements

  of intentional infliction of emotional distress are: (1) the defendant acted intentionally or

  recklessly; (2) the conduct was extreme and outrageous; (3) the defendant’s actions caused the

  plaintiff emotional distress; and (4) the emotional distress that the plaintiff suffered was severe.”

  Brewerton v. Dalrymple, 997 S.W.2d 212, 215 (Tex. 1999) (citation omitted). “[I]ntentional

  infliction of emotional distress is not available as an independent cause of action [in Texas] unless

  the actor intends to cause severe emotional distress or severe emotional distress is the primary risk

  created by the actor’s reckless conduct.” Standard Fruit & Vegetable Co. v. Johnson, 985 S.W.2d

  62, 63 (Tex. 1998). “Intentional infliction of emotional distress is a gap-filler tort, judicially


                                                     9
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 10 of 13 PageID #: 1362




  created for the limited purpose of allowing recovery in those rare instances in which a defendant

  intentionally inflicts severe emotional distress in a manner so unusual that the victim has no other

  recognized theory of redress.” Oberc v. Fairlane Cap. Inc., No. 13-cv-1010, 2015 WL 4099852,

  at *6 (N.D. Tex. July 2, 2015) (cleaned up) (quoting Hoffmann-La Roche Inc. v. Zeltwanger,

  144 S.W.3d 438, 447 (Tex. 2004)). A plaintiff must show that the defendant’s conduct was “so

  outrageous in character, and so extreme in degree, as to go beyond all possible bounds of decency,

  and to be regarded as atrocious, and utterly intolerable in a civilized community.” Id. (quoting

  Hoffmann-La Roche Inc., 144 S.W.3d at 447) (internal quotation marks omitted).

         Here, Plaintiff alleges that Defendant’s “conduct, in making a baseless application for a

  protective order . . . was careless and negligent as to the emotional health of Plaintiff . . . and

  caused him severe emotional distress.” Dkt. 1 at 28. Defendant argues that “Plaintiff only alleges

  that the conduct at issue was ‘careless and negligent’” and “[t]here are no factual allegations in

  [the] Complaint indicating that [Defendant’s] alleged conduct was extreme and/or outrageous.”

  Dkt. 10 at 8. Thus, Defendant argues that “Plaintiff fail[s] to plausibly state a proper claim for

  intentional infliction of emotional distress.” Id. at 9. The Court agrees with Defendant.

         Plaintiff’s allegations of carelessness and negligence rise only to the level of a cause of

  action for negligent infliction of emotional distress, which is not a cause of action in Texas. See

  Boyles v. Kerr, 855 S.W.2d 593, 594 (Tex. 1993) (“[T]here is no general duty in Texas not to

  negligently inflict emotional distress.”). Plaintiff also has not alleged any facts that indicate that

  Defendant’s conduct was “so outrageous in character, and so extreme in degree, as to go beyond

  all possible bounds of decency.” See Oberc, 2015 WL 4099852, at *6. Indeed, the facts as alleged

  by Plaintiff indicate that Plaintiff did send multiple “angry” emails to Defendant that were the

  basis of Defendant’s suit for a protective order. See Dkt. 1 at 18 (Plaintiff alleges he “sent an angry


                                                    10
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 11 of 13 PageID #: 1363




  email to Defendant” and when that email went without a response, he “sent some angrier emails.”

  Plaintiff also alleges that after receiving a response he “was not happy about,” he “responded

  angrily.”). Accordingly, Plaintiff has not alleged the first two required elements—(1) Defendant

  acted intentionally or recklessly, and (2) Defendant’s conduct was extreme and outrageous—of

  his intentional infliction of emotional distress cause of action.

          Further, the basis of Plaintiff’s intentional infliction of emotional distress claim is the filing

  of the lawsuit; however, “the act of filing a lawsuit . . . does not go beyond all possible bounds of

  decency so as to be regarded as atrocious and utterly intolerable in a civilized community.” See

  Klein & Assocs. Pol. Rels. v. Port Arthur Indep. Sch. Dist., 92 S.W.3d 889, 898 (Tex. App.—

  Beaumont 2002, pet. denied) (first citing Brewerton, 997 S.W.2d at 216; then citing Guzman v.

  Guzman, 827 S.W.2d 445, 448 (Tex. App.—Corpus Christi-Edinburg 1992, writ denied)). Instead,

  the wrongful filing of a lawsuit may be remedied by other causes of action, such as malicious

  prosecution; consequently, a claim for intentional infliction of emotional distress is not the proper

  remedy for such circumstances. Id. Accordingly, Plaintiff has failed to state a claim for intentional

  infliction of emotional distress based upon the filing of the protective order lawsuit.

         Because Plaintiff has failed to allege the first two required elements and the underlying act

  of his claim is the filing of the protective order lawsuit, Plaintiff cannot plausibly state a claim for

  intentional infliction of emotional distress. Accordingly, the Court recommends Plaintiff’s

  intentional infliction of emotional distress claim be dismissed for failure to state a claim.

  B.     Leave to Amend

         A “plaintiff’s failure to meet the specific pleading requirements should not automatically

  or inflexib[ly] result in dismissal of the complaint with prejudice to re-filing.” Hart v. Bayer Corp.,

  199 F.3d 239, 247 n.6 (5th Cir. 2000) (citation omitted). Further, a pro se litigant should generally


                                                     11
Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 12 of 13 PageID #: 1364




  be offered an opportunity to amend his complaint before it is dismissed. Brewster v. Dretke,

  587 F.3d 764, 767–68 (5th Cir. 2009) (per curiam) (citing Bazrowx v. Scott, 136 F.3d 1053, 1054

  (5th Cir. 1998) (per curiam)). “Granting leave to amend is not required, however, if the plaintiff

  has already pleaded his ‘best case.’” Id. at 768 (quoting Bazrowx, 136 F.3d at 1054). The Court

  can deny leave to amend where such an amendment would be futile. See, e.g., Isom v. U.S. Dep’t

  of Homeland Sec., No. 20-cv-948, 2021 WL 2232052, at *3 (E.D. Tex. Apr. 28, 2021), R. & R.

  adopted, 2021 WL 2224345 (E.D. Tex. June 2, 2021).

         In the present case, the Court finds Plaintiff has pleaded his best case for all three causes

  of action, and amendment would be futile. The Complaint (Dkt. 1) is thirty pages long and provides

  a detailed and thorough background of the events leading up to the filing of the protective order

  lawsuit, as well as the events of the relevant state court proceeding. None of the facts alleged by

  Plaintiff can support his causes of action for malicious prosecution and abuse of process because

  the lawsuit ultimately ended in a nonsuit by Defendant. Furthermore, even if Plaintiff was to amend

  the Complaint (Dkt. 1) to allege that Defendant intentionally filed the lawsuit to cause Plaintiff

  emotional distress, he could not maintain his cause of action for intentional infliction of emotional

  distress because this claim is not the proper remedy for the wrongful filing of a lawsuit. Thus, the

  Court finds giving Plaintiff leave to amend would be futile.

                                   IV.    RECOMMENDATION

         For the foregoing reasons, the Court recommends the Motion to Dismiss (Dkt. 10) be

  GRANTED and Plaintiff’s claims against Defendant be DISMISSED WITH PREJUDICE.

         Within fourteen (14) days after service of the magistrate judge’s report, any party may

  serve and file written objections to the findings and recommendations of the magistrate judge.

  28 U.S.C. § 636(b)(1)(C).


                                                   12
    Case 4:23-cv-00732-ALM-KPJ Document 88 Filed 08/06/24 Page 13 of 13 PageID #: 1365




             A party is entitled to de novo review by the district court of the findings and conclusions

      contained in this report only if specific objections are made, and failure to timely file written

      objections to any proposed findings, conclusions, and recommendations contained in this report

      shall bar an aggrieved party from appellate review of those factual findings and legal conclusions

      accepted by the district court, except on grounds of plain error, provided that the party has been

.     served with notice that such consequences will result from a failure to object. Id.; Thomas v. Arn,

      474 U.S. 140, 148 (1985); see also Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1417

      (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1)

      (extending the time to file objections from ten to fourteen days).

               So ORDERED and SIGNED this 6th day of August, 2024.




                                                     ____________________________________
                                                     KIMBERLY C. PRIEST JOHNSON
                                                     UNITED STATES MAGISTRATE JUDGE




                                                      13
